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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                                       INITIAL APPEARANCE
UNITED STATES OF AMERICA,                      )          COURTROOM MINUTES - CRIMINAL
                                               )         BEFORE: ELIZABETH COWAN WRIGHT
                       Plaintiff,              )                 U.S. Magistrate Judge
                                               )
 v.                                            )   Case No:              23-mj-365 ECW
                                               )   Date:                 May 1, 2023
Jackie Rahm Little,                            )   Courthouse:           St. Paul
                                               )   Courtroom:             3C
                       Defendant.              )   Time Commenced:       9:30 a.m.
                                               )   Time Concluded:       9:38 a.m.
                                               )   Time in Court:        8 minutes

APPEARANCES:
 Plaintiff: Manda Sertich, Assistant U.S. Attorney
 Defendant: Manny Atwal, Assistant Federal Public Defender
                X FPD          X To be appointed


 Date Charges Filed: April 27, 2023                Offense: Attempt to damage or destroy property used in
                                                   interstate or foreign commerce by means of an explosive

         X Advised of Rights

on    X Complaint

X Government moves for detention.
Motion is X granted, temporary detention ordered

Next appearance date is Thursday, May 4, 2023 at 11:00 a.m. before U.S. Magistrate Judge Elizabeth Cowan Wright
in St. Paul CR 3C for:
  X Detention hrg       X Preliminary hrg


Additional Information:
X Oral Rule5(f) Brady notice read on the record.



                                                                                       s/nah
                                                                                   Signature of Courtroom Deputy
